    Case: 1:20-cv-06485 Document #: 60 Filed: 03/25/22 Page 1 of 8 PageID #:534



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


 CYNTHIA REDD, individually, and
 on behalf of all others similarly situated,            No. 1:20-cv-06485
                        Plaintiff,                      Honorable Mary M. Rowland
        v.

 AMAZON.COM, INC. and
 AMAZON.COM LLC,

                        Defendants.


                                       JOINT STATUS REPORT

       Pursuant to the Court’s February 23, 2022 Order (Dkt. 58), the parties jointly submit this

status report. The parties have been unable to agree on a proposed case schedule. Accordingly, the

table below sets forth the parties’ respective proposals for a case schedule, including (1) expert

discovery; (2) briefing on summary judgment; and (3) briefing on class certification.

 Deadline                                          Amazon’s Proposal        Plaintiff’s Proposal

 Close of fact discovery                           5/6/2022                 6/20/2022

 Primary expert disclosures                        5/27/2022                7/11/2022

 Deadline for primary expert discovery             6/24/2022                8/8/2022

 Rebuttal expert disclosures                       7/22/2022                9/5/2022

 Deadline for rebuttal expert discovery            8/19/2022                10/3/2022

 Deadline to move for summary judgment on          9/23/2022                N/A
 individual claims

 Deadline to move for class certification          30 days after Court      7/20/2022
                                                   rules on motion for
                                                   summary judgment
     Case: 1:20-cv-06485 Document #: 60 Filed: 03/25/22 Page 2 of 8 PageID #:535




 Deadline                                            Amazon’s Proposal        Plaintiff’s Proposal

 Deadline to move for summary judgment on            30 days after Court      11/2/2022
 class claims                                        rules on motion for
                                                     class certification


I.     Status of Discovery

       Plaintiff’s Position Statement on Status of Discovery. Both Parties have exchanged

substantive responses, objections and supplemental responses and objections to written discovery.

Named Plaintiff, Cynthia Redd, was deposed on March 15, 2022. Deposition notices for two of

Defendant’s witnesses, who were identified in Defendant’s initial disclosures, have been served

three separate times since initially served by Plaintiff on September 7, 2021. For reasons the Court

is aware, the depositions of Defendant’s witnesses have been repeatedly canceled and/or

postponed. Currently, one of Defendant’s witnesses whom Plaintiff originally issued a deposition

notice for, Lucas Power, is scheduled for deposition on April 21, 2022. Another of Defendant’s

witnesses whom Plaintiff also originally issued a deposition notice for, John Herendeen was

scheduled for deposition on March 23, 2022. On March 18, 2022, Defendant’s counsel informed

Plaintiff’s counsel that Mr. Herendeen, yet again, would not sit for his third re-scheduled

deposition due to a death in the family, and offered dates in April to re-schedule his deposition for

the fourth time. The parties have confirmed April 27, 2022 for Mr. Herendeen’s fourth re-

scheduled deposition.    Furthermore, Defendant’s most recent document production was on

February 22, 2022. After a near-complete review of the entirety of Defendant’s voluminous

document production (i.e., more than 17,000 documents), Plaintiff has identified additional fact

witnesses as having knowledge of the allegations of Plaintiff’s Complaint. Accordingly, Plaintiff

intends to issue deposition notices to no more than five (5) of these witnesses by March 30, 2022.




                                                 2
    Case: 1:20-cv-06485 Document #: 60 Filed: 03/25/22 Page 3 of 8 PageID #:536




        Lastly, on March 22, 2022, Plaintiff’s counsel informed Defendant’s counsel of Plaintiff’s

intent to issue a discovery request, pursuant to Fed. R. Civ. Pro. 34, to conduct a site inspection of

the cameras, devices and software at issue in this case and in Defendant’s possession. In

accordance with the meet and confer requirements and prior to issuing the formal request, on

March 22, 2022, Plaintiff requested Defendant’s availability for the site inspection, and Defendant

has not yet responded with available dates and times.

        Accordingly, due to the repeated postponement of Defendant’s previously-noticed witness

depositions, both of which Defendant has now delayed until the week before the close of fact

discovery, as well as the recent identification of additional witnesses to be deposed, and the request

for site inspection, Plaintiff respectfully requests a brief, 45-day extension of the fact discovery

deadline, up to and including June 20, 2022, in order to complete these outstanding depositions of

Defendant’s witnesses and a site inspection. A brief extension of the discovery schedule will not

prejudice any party, given the facts and legal issues involved in this case, and particularly

considering Plaintiff first issued a 30(b)(6) deposition notice to Defendant on June 14, 2021, as

well as multiple deposition notices to Defendant’s other witnesses since that time, and to date, not

one of Defendant’s witnesses have been presented for any previously-scheduled deposition in this

case.

        Amazon’s Position Statement Regarding Plaintiff’s Request for Extension of Fact

Discovery Schedule. Plaintiff’s demand to extend the fact discovery deadline again is unjustified.

Discovery has been open for well over a year and has never been stayed. Plaintiff has had

Amazon’s responses to written discovery for nearly one year, and has had Amazon’s substantially

completed document production, with supplemental interrogatory responses, for four months.

(Amazon’s document production was supplemented in February 2022 with a small production of




                                                  3
    Case: 1:20-cv-06485 Document #: 60 Filed: 03/25/22 Page 4 of 8 PageID #:537




fewer than 50 documents consisting solely of Plaintiff’s personnel file.) Nothing material has

changed since Plaintiff told the Court two months ago that fact discovery could be completed by

the then-deadline of February 28, 2022. See Dkt. 52 at 13. Nor has anything material changed since

the February 23, 2022 status conference, when both parties represented to the Court that they

expected to complete fact discovery by May 6, 2022.

        Plaintiff insinuates that an extension is required because Amazon has sought to delay the

depositions of its witnesses. That is incorrect. Since the last status conference, Amazon has offered

various dates in both March and April for both Mr. Herendeen’s and Mr. Power’s depositions, who

are the only two witnesses for whom Plaintiff has sought to schedule depositions. And due to the

schedules of witnesses and counsel (including Plaintiff’s counsel), those depositions were

scheduled for the mutually agreeable dates of March 23 and April 21, respectively. Mr.

Herendeen’s deposition unfortunately had to be rescheduled due to an unforeseeable death in his

family, and his bereavement leave precluded early confirmation of Plaintiff’s selected date for Mr.

Herendeen’s rescheduled deposition. Amazon now can confirm that Mr. Herendeen is available

for deposition on April 27. That date, which was selected by Plaintiff among many other options,

is still well before the current discovery cut-off.

        Amazon understands that Plaintiff now intends to request additional depositions. (Amazon

has asked Plaintiff to identify the additional witnesses whom she intends to seek to depose, but

Plaintiff has not yet responded to that question.) Amazon also understands that Plaintiff intends to

serve a request for inspection, and Amazon is actively assessing how and when that inspection

could be facilitated. But neither of those additional discovery requests, which Plaintiff raised for

the first time this week, is a basis for yet another blanket extension of the fact discovery deadline.

Plaintiff easily could have identified the additional witnesses she now seeks to depose, and served




                                                      4
      Case: 1:20-cv-06485 Document #: 60 Filed: 03/25/22 Page 5 of 8 PageID #:538




her inspection request, at any time during the last four months. It is unclear why she did not. In

any case, if the parties agree that those additional depositions and Plaintiff’s new request for

inspection are appropriate but cannot identify dates that are mutually convenient for the witnesses

and counsel before May 6, 2022, then, at that point (and as Amazon has already suggested to

Plaintiff’s counsel) the parties can jointly request from the Court a limited extension for the sole

purpose of allowing those depositions and inspection to occur. At this time, however, there is

simply no concrete reason to conclude that an extension is necessary.

II.     Class Certification & Summary Judgment

        Plaintiff’s Position on Class Certification & Summary Judgment Briefing Schedules.

Plaintiff respectfully submits that expert discovery on merits issues is not necessary for briefing

on, or for a determination as to the propriety of, class certification. The Seventh Circuit has

reiterated that the language of Rule 23(c)(1) suggests that the district court should seriously

consider certifying a class “as soon as practicable, which will usually be before the case is

ripe for summary judgment.” Cowen v. Bank United of Tex., 70 F.3d 937, 941 (7th Cir. 1995).

Moreover, if the Court decides to consider Defendant’s summary judgment motion first, Defendant

is creating a one-way intervention problem for itself. Mira v. Nuclear Measurements Corp., 107

F.3d 466, 475 (7th Cir. 1997) (“[I]t is the better policy for a district court to dispose of a motion

for class certification promptly and before ruling on the merits of the case [though not necessarily

reversible error].”). If the court decides class certification first, then any decision on the merits

would be applied equally to Plaintiff’s and all class members’ claims. This would also promote

judicial economy, because then the Court would avoid opening the floodgates to subsequent class

action cases filed on behalf of new plaintiffs who are putative class members here. Accordingly,

Plaintiff proposes that the deadline to move for class certification be thirty (30) days after the close




                                                   5
     Case: 1:20-cv-06485 Document #: 60 Filed: 03/25/22 Page 6 of 8 PageID #:539




of fact discovery. And, Plaintiff respectfully submits that any motion for summary judgment be

filed within thirty (30) days of the completion of expert discovery.

       Amazon’s Position Statement Regarding Class Certification & Summary Judgment Briefing

Schedules. As the Court is aware, Amazon confirmed at the last status conference that it intends

to rely on expert discovery to oppose class certification. See Tr. of Feb. 23, 2022 Status Conference

(Dkt. 59), at 4:5-12. In response, the Court confirmed that Amazon would be allowed to conduct

expert discovery before the Court addresses class certification. See id. at 8:18-21. Thus, while

Amazon takes no position on when Plaintiff files her motion for class certification, Amazon

continues to believe that the parties should be allowed to complete expert discovery before the

Court determines whether to certify a class, and likewise any response to a class certification

motion should be scheduled for a reasonable time following the close of expert discovery.

       Amazon’s position on the timing of summary judgment also remains the same. For at least

two reasons, Amazon respectfully submits that this Court should resolve Amazon’s anticipated

motion for summary judgment focused on Plaintiff’s individual claims before addressing class

certification.

       First, entertaining a summary judgment motion targeting Plaintiff’s claims before class

certification would be efficient because it would allow the Court to resolve threshold legal issues

that could dispose of the case before the parties incur the significant time and expense of litigating

class certification and (if a class is certified) the additional time and expense of negotiating the

content of the notice and the means of providing notice to class members; identifying the members

of the class to be notified; retaining an appropriate firm to send notice; and providing notice.

       Second, Amazon’s anticipated defenses are the types of defenses that should be raised and

resolved at the earliest possible opportunity. For example, Amazon intends to argue that Plaintiff’s




                                                  6
    Case: 1:20-cv-06485 Document #: 60 Filed: 03/25/22 Page 7 of 8 PageID #:540




claims are barred by the Public Readiness and Emergency Preparedness (“PREP”) Act, 42 U.S.C.

§ 247d-6d, which provides immunity to covered entities (including Amazon) against claims

relating to the use of certain approved or authorized countermeasures and devices (including

thermal cameras) meant to prevent or mitigate the transmission of COVID-19. Early resolution of

this legal question is especially appropriate given Congress’s intent that a covered entity “be

immune from suit,” as well as from liability. Id. § 247d-6d(a)(1) (emphasis added); cf. Estate of

Miller, ex rel. Bertram v. Tobiasz, 680 F.3d 984, 988 (7th Cir. 2012) (because qualified immunity

provides immunity from suit, it must be decided “as early in the proceedings as possible”).1

       In addition, Amazon expects the evidence to show that Amazon did not collect, capture,

possess, or disclose any of Plaintiff’s “biometric identifiers” or “biometric information”

(collectively, “biometric data”), as those terms are defined in the Illinois Biometric Information

Privacy Act, 740 ILCS 14/10 (“BIPA”). Not only does this mean Plaintiff’s BIPA claims fail as a

matter of law, it also means that this Court lacks subject matter jurisdiction over Plaintiff’s claims

and Plaintiff’s claims should be dismissed for lack of standing. A BIPA plaintiff suffers an injury-

in-fact sufficient to satisfy Article III standing only if she suffers “a concrete and particularized

invasion of her privacy interest in her biometric data.” Fox v. Dakkota Integrated Sys., LLC, 980

F.3d 1146, 1149 (7th Cir. 2020). Here, because Amazon did not collect, capture, possess, or

disclose Plaintiff’s biometric data, any privacy interest in that data could not have been invaded

and Plaintiff lacks Article III standing to bring her claims in federal court. And, like immunity

from suit, subject matter jurisdiction is “an issue that should be resolved early.” United




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  Of course, Amazon is ready, willing, and able to submit a motion for summary judgment purely on this
limited legal issue prior to more extensive expert discovery, summary judgment motion practice, and
class certification briefing. Amazon would be happy to discuss this approach in more depth should the
Court desire.


                                                   7
       Case: 1:20-cv-06485 Document #: 60 Filed: 03/25/22 Page 8 of 8 PageID #:541




Phosphorous, Ltd. v. Angus Chemical Co., 322 F.3d 942, 946 (7th Cir. 2003), overruled on other

grounds by Minn-Chem, Inc. v. Agrium, Inc., 683 F.3d 845 (7th Cir. 2012).

        For all these reasons, a summary judgment motion addressing Plaintiff’s individual claims

is the appropriate next step after fact and expert discovery are completed. If Plaintiff’s individual

claims survive summary judgment, then the parties can address class certification, and if the Court

certifies a class, then Amazon can bring a further and more streamlined motion for summary

judgment to resolve any remaining defenses regarding the class’s claims—e.g., defenses that turn

on facts about devices that were not used at the facility where Plaintiff worked—shortly thereafter.

III.     Status of Settlement Discussions

         On January 26, 2022, Plaintiff submitted a class-wide settlement demand to Amazon.

Amazon has expressed openness to discussing settlement at an appropriate time but has not yet

responded to Plaintiff’s settlement demand.


  /s/ Ryan F. Stephan                                /s/ Susan D. Fahringer

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